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                           UNITED STATES DISTRICT COURT                                     3/22/2021
                           WESTERN DISTRICT OF VIRGINIA
                                LYNCHBURG DIVISION

    JOHN DOE,
                                                        CASE NO. 6:19-cv-00023
                                       Plaintiff,

                           v.                            ORDER

    WASHINGTON & LEE UNIVERSITY,
                                                         JUDGE NORMAN K. MOON
                                        Defendant.



         The jury trial in this case is presently scheduled for April 20 to 23, 2021, in Lynchburg,

  Virginia. The Court plans to circulate a questionnaire to prospective jurors in the near future to

  evaluate their ability to serve in the jury to be convened for trial in this case. A preliminary set of

  questions to be included is attached. The parties shall submit any proposed or modified questions

  they believe should be asked of prospective jurors by Thursday, March 25, 2021.

         It is so ORDERED.

         The Clerk of the Court is directed to send this Order to all counsel of record.

         Entered this 22nd day of March, 2021.
